           Case 7:22-cr-00391-PMH Document 23 Filed 08/04/22 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
UNITED STATES OF AMERICA                                     :
                                                             :
v.                                                           :   SCHEDULING ORDER
                                                             :
Anett Rodrigues,                                             :   7-22-cr-00391-PMH
                                  Defendants.                :
                                                             :
-------------------------------------------------------------x

        An Initial Conference in this matter is scheduled for September 1, 2022 at 11:00 am.

Because of the current public health emergency, the Court will conduct the conference by

telephone conference call, provided that defendants waive their right to be physically present and

consent to appear by telephone after consultation with counsel.

        Members of the press and public may call the same number below but will not be

permitted to speak during the conference.

        Accordingly, it is hereby ORDERED:

        1. Defense counsel shall complete the attached waivers for their clients’ right to be

physically present and consent to appear by telephone. The waivers shall be submitted no later

than 8/25/2022.

        2. At the time of the scheduled hearing, all counsel and defendants shall attend by calling

the following number and entering the access code when requested:

        Dial-In Number:            (888) 398-2342
        Access Code:               3456831

        White Plains, NY
        Dated: August 4, 2022                          SO ORDERED:



                                                                  Philip M. Halpern, U.S.D.J
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                                                                                                    March 31, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA,                                                       CONSENT TO PROCEED BY
                                                                                TELECONFERENCE
                             -v-
                                                                                   -CR-    ( )( )
                                   ,
                                       Defendant(s).
-----------------------------------------------------------------X

Defendant ______________________________________ hereby voluntarily consents to
participate in the following proceeding via teleconferencing:

___      Initial Appearance/Appointment of Counsel

___      Arraignment (If on Felony Information, Defendant Must Sign Separate Waiver of
         Indictment Form)

___      Preliminary Hearing on Felony Complaint

___      Bail/Revocation/Detention Hearing

___      Status and/or Scheduling Conference

___      Misdemeanor Plea/Trial/Sentence



_______________________________                                      _________________________________
Defendant’s Signature                                                Defense Counsel’s Signature
(Judge may obtain verbal consent on
Record and Sign for Defendant)

_____________________________                                        _________________________________
Print Defendant’s Name                                               Print Defense Counsel’s Name


This proceeding was conducted by AT&T teleconferencing technology.


___________________                                                  _________________________________
Date                                                                 U.S. District Judge/U.S. Magistrate Judge
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                                                                                                            April 2, 2020

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                                    WAIVER OF RIGHT TO BE PRESENT AT
                                  -v-                                               CRIMINAL PROCEEDING

                                          ,                                            -CR-     ( )( )
                                               Defendant.
-----------------------------------------------------------------X

Check Proceeding that Applies

____       Arraignment

           I have been given a copy of the indictment containing the charges against me and have reviewed it with my
           attorney. I understand that I have a right to appear before a judge in a courtroom in the Southern District
           of New York to confirm that I have received and reviewed the indictment; to have the indictment read aloud
           to me if I wish; and to enter a plea of either guilty or not guilty before the judge. After consultation with
           my attorney, I wish to plead not guilty. By signing this document, I wish to advise the court of the following.
           I willingly give up my right to appear in a courtroom in the Southern District of New York to advise the court
           that:

                       1)         I have received and reviewed a copy of the indictment.
                       2)         I do not need the judge to read the indictment aloud to me.
                       3)         I plead not guilty to the charges against me in the indictment.


Date:                  ____________________________
                       Signature of Defendant


                       ____________________________
                       Print Name

___        Bail Hearing

           I am applying or in the future may apply for release from detention, or if not detained, for modification of
           the conditions of my release from custody, that is, my bail conditions. I understand that I have a right to
           appear before a judge in a courtroom in the Southern District of New York at the time that my attorney
           makes such an application. I have discussed these rights with my attorney and wish to give up these rights
           for the period of time in which access to the courthouse has been restricted on account of the COVID-19
           pandemic. I request that my attorney be permitted to make applications for my release from custody or
           for modification of the conditions of my release even though I will not be present, and to make such
           applications in writing or by telephone in my attorney’s discretion.


Date:                  ____________________________
                       Signature of Defendant


                       ____________________________
                       Print Name
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____     Conference

         I have been charged in an indictment with violations of federal law. I understand that I have a right to be
         present at all conferences concerning this indictment that are held by a judge in the Southern District of
         New York, unless the conference involves only a question of law. I understand that at these conferences
         the judge may, among other things, 1) set a schedule for the case including the date at which the trial will
         be held, and 2) determine whether, under the Speedy Trial Act, certain periods of time should be properly
         excluded in setting the time by which the trial must occur. I have discussed these issues with my attorney
         and wish to give up my right to be present at the conferences. By signing this document, I wish to advise
         the court that I willingly give up my right to be present at the conferences in my case for the period of time
         in which access to the courthouse has been restricted on account of the COVID-19 pandemic. I request that
         my attorney be permitted to represent my interests at the proceedings even though I will not be present.



Date:             ____________________________
                  Signature of Defendant


                  ____________________________
                  Print Name


I hereby affirm that I am aware of my obligation to discuss with my client the charges contained in the indictment,
my client’s rights to attend and participate in the criminal proceedings encompassed by this waiver, and this waiver
form. I affirm that my client knowingly and voluntarily consents to the proceedings being held in my client’s absence.
I will inform my client of what transpires at the proceedings and provide my client with a copy of the transcript of
the proceedings, if requested.

Date:             ____________________________
                  Signature of Defense Counsel


                  ____________________________
                  Print Name


Addendum for a defendant who requires services of an interpreter:

I used the services of an interpreter to discuss these issues with the defendant. The interpreter also translated this
document, in its entirety, to the defendant before the defendant signed it. The interpreter’s name is:
_______________________.



Date:             _________________________
                  Signature of Defense Counsel




Accepted:         ________________________
                  Signature of Judge
                  Date:
                                                          2
